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     Federal Defender
2    MATTHEW C. BOCKIMON, #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     DENNA CHAMBERS
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7
8                                   UNITED STATES DISTRICT COURT
9                                   EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                  ) Case No. 2:16-cr-010 MCE
                                                )
11                          Plaintiff,          ) NOTICE OF EXCLUSION OF TIME; ORDER
                                                )
12         v.                                   )
                                                )
13   DENNA CHAMBERS and                         )
     STARSHEKA MIXON                            )
14                                              )
                            Defendants.         )
15
            On the Court’s own motion of June 23, 2017, the status conference scheduled for July 6,
16
     2017 is vacated and continued to July 13, 2017 at 10:00 a.m.
17
            Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
18
     excluded from this order’s date through and including July 13, 2017, pursuant to 18 U.S.C.
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     §3161 (h)(7)(A) and (B)(iv) [reasonable time to prepare] and General Order 479, Local Code T4
20
     based upon continuity of counsel and defense preparation.
21
     DATED: June 23, 2017                                Respectfully submitted,
22
                                                         HEATHER E. WILLIAMS
23
                                                         Federal Defender
24
                                                         /s/ Matthew C. Bockmon
25                                                       MATTHEW C. BOCKMON
                                                         Assistant Federal Defender
26                                                       Attorney for DENNA CHAMBERS
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      Notice of Exclusion of Time                  -1-
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1    DATED: June 23, 2017                       /s/ Kelly Babineau
                                                KELLY BABINEAU
2                                               Attorney for STARSHEKA MIXON
3
4    DATED: June 23, 2017                       PHILLIP A. TALBERT
                                                United States Attorney
5
                                                /s/ Shelley D. Weger
6                                               SHELLEY D. WEGER
7                                               Assistant U.S. Attorney
                                                Attorney for Plaintiff
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      Notice of Exclusion of Time         -2-
       Case 2:16-cr-00010-TLN Document 75 Filed 06/30/17 Page 3 of 3


1                                                     ORDER
2           Pursuant to the parties’ stipulation, time from the date of that stipulation, up to and
3    including July 13, 2017, is hereby excluded from computation of time within which the trial of
4    this case must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §§3161(h)(7), 18
5    U.S.C. §3161(7)(A) and Local Code T4. The Court also finds that the ends of justice served by
6    granting defendant’s request for a continuance outweigh the best interest of the public and
7    defendant in a speedy trial.
8           IT IS SO ORDERED.
9    Dated: June 29, 2017
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      Notice of Exclusion of Time                    -3-
